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  8   Godina, Cain, Pollard, Cromwell, Romero,
      Fernandez (Galpon), Thomas, Jr. , Fortson,
  9   Mendoza, Spencer, and Crawford
 10
                         IN THE UNITED STATES DISTRICT COURT
 11
                        FOR THE CENTRAL DISTRICT OF CALIFORNIA
 12
                                      WESTERN DIVISION
 13
 14
 15   LAFONZO R. TURNER,                            2:14-cv-04758 JVS (AGR)
 16                                   Plaintiff, REPLY DECLARATION OF J.
                                                 CURIEL, APPEALS
 17                v.                            COORDINATOR, IN SUPPORT OF
                                                 DEFENDANTS' MOTION FOR
 18                                              SUMMARY JUDGMENT FOR
      B. M. CASH, et al.,                        FAILURE TO EXHAUST
 19                                              ADMINISTRATIVE REMEDIES
                                    Defendants.
20                                               Comiroom:
                                                 Judge:        The Honorable Alicia G .
21                                                             Rosenberg
                                                 Trial Date: None
22                                               Action Filed: 6/ 19/2014
      -------------------'
23          I, J. Curiel, hereby declare as follows:
24           1.    I am not a party to this action. I make the following declaration in
25    supp01i of Defendants' Motion for Summary Judgment for Failure to Exhaust
26    Available Administrative Remedies. I make the following declaration of facts based
27    upon my own knowledge, except those matters expressly based on information and
28    belief, which I believe to be true. If called, I can testify competently to the facts
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  1   contained in this declaration.
  2         2.     I am employed as a Correctional Counselor II by the California
  3   Depa11ment of Corrections and Rehabilitation (CDCR) and as the Appeals
  4   Coordinator at California State Prison, Los Angeles County (LAC), in Lancaster,
  5   Califmnia. As Appeals Coordinator, I receive all inmate appeals submitted at the
  6   institutional level. I am familiar with CDCR's inmate appeals process and the
  7   processing of inmate appeals at LAC. Any inmate grievance relating to LAC must
  8   be filed through the LAC appeals office.
  9         3.     The California Code of Regulations, Title 15, § 3084.l(a), Right to
 10   Appeal, states, "Any inmate or parolee under the depa11ment' s jurisdiction may
 11   appeal any policy, decision, action, condition, or omission by the department or its
 12   staff that the inmate or parolee can demonstrate as having a material adverse affect
 13   upon his or her health, safety, or welfare."
 14         4.     Before January 28, 2011 , there were four levels of appeal review: one
 15   ( 1) informal and three (3) formal levels. The informal level of review required the
 16   complaining inmate and involved staff to attempt to resolve the grievance
 17   infonnally. If the inmate was not satisfied with the informal level response, he
 18   could submit the appeal for formal review. The first formal level of review was
 19   conducted by the division head or his/her designee. If the inmate was not satisfied
20    with the first formal level response, he could submit the appeal for a second level of
21    review. The second level of review was conducted by the institution head or his/her
22    designee. If the inmate was not satisfied with the second level response, he could
23    elevate the appeal to the third level of review, which was conducted by the chief of
24    the Inmate Appeals Branch in Sacramento, California. This constituted the CDCR
25    Secretary's decision on an appeal, and completed the exhaustion process.
26          5.     After January 28, 2011, the administrative appeal regulations were
27    revised significantly. Three of the most prominent changes include the manner of
28    initial submission of the appeal, the requirement to identify involved staff by name

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  1   and title, and time frames for submission. First, concerning the initial submission
  2   of the appeal, the inmate is no longer required to attempt informal review of the
  3   appeal with the staff member involved in the action or decision being appealed.
 4    Instead, the inmate is required to submit the appeal directly through institutional
  5   mail to the appeals coordinator's office for receipt and processing. Cal. Code
 6    Regs., tit. 15, §§3084.2(c), 3084.7(a). Upon receipt, the appeals coordinator makes
 7    a determination whether the appeal has been properly submitted, or must be
  8   rejected or cancelled because of errors, omissions, duplication of a prior appeal,
 9    presentation of multiple, unrelated issues, or other violations of the regulations. If
10    the appeal is accepted for review, it is processed through the same three formal
11    levels of review described above in paragraph 4, except that the Inmate Appeals
12    Branch in Sacramento, California, is now the "Office of Appeals," where appeals
13    are resolved at the third and final level of review. A decision by the Chief of the
14    Office of Appeals constitutes the final decision of the Secretary of CDCR, and
15    completes the administrative process. The second major change is that the inmate
16    is required to identify, by name and title or position, each staff member alleged to
17    be involved in the action or decision being appealed, along with the dates each staff
18    member was involved in the issue being appealed. Cal. Code Regs. , tit. 15, §
19    3084.2(a)(3). If the inmate does not have this information, he must provide any
20    other available infonnation that would assist the appeals coordinator in identifying
21    the staff member. Id. The third major change is that the inmate now has 30
22    calendar days to submit the appeal from the occurrence of the event or decision
23    being appealed, or upon first knowledge of the action or decision being appealed.
24    Cal. Code Regs., tit. 15, § 3084.8(b).
25          6.     Because the inmate's claims relate to an event or occmTence on June
26    26, 2010, before the amendments to the relevant regulations, the earlier version of
27    the regulations apply, as they were in effect at the time the events alleged occurred.
28    Appeals submitted after January 28, 20 11 , the effective date of the revised

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  1   regulations, however, are processed in accordance with the new regulations.
  2         7.       CmTently, when an appeal is submitted to the appeals coordinator's
  3   office for review, it is immediately assigned a log number-regardless of its
  4   disposition-for tracking purposes and to prevent inmates from alleging that staff
  5   lost or destroyed the appeal. If an appeal is not properly or timely submitted, it is
  6   not assigned for processing, but is instead rejected and returned to the inmate with
  7   written instmctions on how to cure the defects, if possible. In 2010, during the
  8   period of time relevant to Plaintiff's claims, appeals that were screened out or
  9   rejected were not assigned a log number.
 10         8.       The California Attmney General ' s Office requested that this Office
 11   research its records to ascertain whether inmate Lafonzo Turner, CDCR No.
 12   G05794 ("Plaintiff'), filed any inmate appeals while incarcerated at California State
 13   Prison, Los Angeles County (CSP-LAC) related to his allegations that on or about
 14   June 26, 2010:
 15                  (a)   Plaintiff was subjected to excessive force by Defendants
 16   Thomas Romero, Pollard, Fears, Puckett, Mendoza, and Godina during a cell
 17   extraction while incarcerated at CSP-LAC;
 18                  (b)   Defendants Lett and Crawford failed to protect Plaintiff; and
 19                  (c)   Defendants Cash, Fortson, B uechter, Cain, Fernandez, and
20    Cromwell permitted the excessive force.
21          9.       A thorough search of our records, which are kept in the ordinary
22    course of business at or near the time this Office receives an inmate appeal,
23    revealed the following:
24                   (a)   On or about January 14, 2011, Plaintiff's appeal log no. LAC-A-
25    10-01651 was cancelled and denied at the second level of re\(iew 1• That appeal
26    addressed Plaintiff's allegations that on June 26, 2010, he received a CDC 115,
27    Rules Violation Report (RVR), log no. Sl0-06-0067, for the specific act of
            1
28              The first level of review was bypassed in this case.
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  1   "Willfully Resisting any Peace Officer in the Performance of Duty." Plaintiff
  2   claimed that he was denied due process and access to the courts and that the RVR
  3   was written up as an attempt to cover the fact that CSP-LAC is "subjecting
  4   prisoners to cruel and unusual punishment and corporal punishment primarily
  5   because prisoners are accused of refusing to accept assigned housing or a cellmate."
  6   Plaintiff also claimed that the staff used excessive force with chemical and physical
  7   force. Plaintiff requested that the R VR be dismissed and that he be compensated for
  8   his injuries and transferred. That appeal was cancelled and denied because
  9   Correctional Lieutenant Frank attempted to interview Plaintiff on January 6, 2011
 10   to give Plaintiff the opportunity to provide any additional information or
 11   documentation, but Plaintiff elected not to participate in the interview process.
 12   Plaintiff's refusal to participate in the interview and lack of cooperation were
 13   considered an Appeal System Abuse in accordance with CCR Title 15 , § 3084.4.
 14   The appeal was forwarded to the Appeal's Coordinator for cancellation. A true and
 15   correct copy of that appeal (including attached documents) and second level
 16   decision is attached hereto as Exhibit "A".
 17        10. A thorough search by my staff for appeals submitted by Plaintiff which
 18   were screened out revealed, other than the appeal listed in paragraph 9(a) above, no
 19   CDCR Form 602 appeals received from Plaintiff regarding the allegations brought
20    in this action.
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  1           11 .     Documents and data entries are maintained in our office pe11aining to
  2   inmate appeals and are prepared at or near the time of their occurrence by persons
  3   with knowledge of the circumstances or events. A true and correct copy of the
  4   appeal history of inmate Lafonzo Turner is attached hereto as "Exhibit B."
  5
  6
  7           I declare under penalty of perjury under the laws of California and the United
  8   States of America that the foregoing is true and correct.
  9           Executed on September ~         2018, at Lancaster, California.
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 13                                             J. Curiel, Appeals Coordinator, LAC
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                   EXHIBIT A
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        CALIFORNIA DEPARTMENT OF CORRECTIONS AND REHABILITATION
              CALIFORNIA STATE PRISON-LOS ANGELES COUNTY
                        SECOND LEVEL RESPONSE

 Appellant's Name & CDC No.:          Turner (G05794)
 Appeal Log No.:                      LAC-A-10-01651
 Interviewed By:                      B. Frank, Dis cip linary Lieutenant
 Appeal Issue:                        Dis ciplinary
 Appeal Decision:                     Cancelled/Deni ed


 APPEAL ISSUE:
 You are subm itting th is appeal relative to CDC-115, Rules V iolation Report (RVR),
 Log # S10-06-0067, dated 6/26/201 0 , for the specific act of "Willfu lly Resisting any
 Peace Officer in the Performance of Duty."
 In your appea l you claim that as the result of a RVR hearing conducted by Senior
 Hearing Officer (SHb) , Lieutenant R. Harris, you claim th at several of your due process
 rights were either ignored or simply violated. Specifically, you claim the following:

        •   Appellant claims that he was denied access to the court without due process.
        •   Appellant claims that the RVR was written up as an attempt to cover the fact
            that LAC is "subjecting prisoners to cruel and unusual punishment and
            corpo ral puni shment primarily because prisoners are accused of refusing to
            accept assigned housing and or a cellmate. "
        •   Appellant claims that LAC staff is manipulating the Integrated Housing Policy
            (IHP) and the Integrated Housing Codes (I HC).
        •   Appellant claims that staff used excessive force by means of chemical and
            physical force.
        •   Appellan t claims that the SHO did not al low him to call relevant witnesses.

 APPEAL REQUEST:
 Yo u request that the RVR be dismissed . You also request to be compensatedyou're
 your injuries and to be immediately transferred because the officials in A4 keep
 retaliating against you for the in cident at hand.

 REGULATIONS:
 The rul es governing this issue are: California Code of Regulations (CCR). T it le 15,
 Section(s) 3006, 3084, 3315, 3320, and 3323; and DOM Article 5, Inma te Discipline.

 INTERVIEW:
 Correctional Li eutenant B. Frank attempted to interview you on 1/6/2011, to give you the
 opportunity to provide any additional informati on or documentation. You elected not to
 participate in the interview process. Your refu sa l to participate was witnessed by
 Correctional Officer G. Estrada. This lack of cooperation is considered an Appeal
 System Abuse in accordance with CCR T itle 15, § 3084.4. Th is appeal wil l be
 forwarded to the Appea l's Coord in ator for cancellati on.
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 SECOND LEVEL RESPONSE
 LAC-A-10-0165 1
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 APPEAL RESPON SE:
 T he First Level of Review was bypassed in this case. Lieutenant B. Frank was
 assigned to review this appea l at the Second Level. All submitted documentation and
 s u pporting arguments have been considered. Add itionally, a thorough examination has
 been conducted regarding the claim presented, in accordance with California State
 Prison - Los Angeles County, Operational Procedures, the CCR Title 15, and the
 Department Operations Manual (DOM).

 FI NDI NGS:
 The assigned staff member reviewed the appeal, the RVR, and the issue contained
 t h erein. A rev iew of the RVR revealed that you were charged with violating CCR,
 Section(s) 3005(c), for the specific act of "Willfully Delaying any Peace Officer in the
 Performance of Duty." In accordance with CCR Title 15, Section 3323, the charge was
 c lassified as a Division "D" offense.

 The date of discovery of the RVR was 6/26/2010. You received your copy of the RVR
 on 7/30/2010, which was not within 15 days of the date of discovery. The hearing was
 conducted on 8/26/2010, which was w ithin 30 days of the date of RVR service . T ime
 constraints were not met in accordance with CCR Section 3320(a) and (b).

 In accordance with CCR Title 15, Section 3320(c)(2), you were provided with copies of
 the following documents at least 24 hours prior to the hearing: CDC 115 (Rules
 Violation Report), CDC 115A (Serious Rules Violation Repori ), CDC 115 (Summary of
 Disciplinary Procedures [Back Pagel), 115A (Summary of Disciplinary Procedures and
 In mate Rights [Back Pagel) , CDC 837 (Crime/Incident Report w/Supps &7219s) ,
 In vestigative Employee Report, Notice of Outcome of Referral for Prosecution.

 The RVR was not referred for District Atto rney Prosecution.

 An Investigative Employee was not assigned in accordance with CCR Title 15, Section
 33 15(d)(1).

 A Staff Assistant was not ass igned in accordance with CCR Title 15, Section
 3315(d)(2).

 You are a participant in the Mental Health Services Delivery System (M HSDS) at th e
 CCCMS level of care.

 T he hearing was held on 8/26/20 10 at approximately 1330 hours. T he RVR reflects that
 yo u made a personal appearance before Correctiona l Lieutenant R. Harris; and entered
 a plea of Not Guilty.

 The SHO found you guilty of the RVR based on the preponderance of evidence
 p resented at the hearing, in accordance with CCR Section 3320(1). Specifica lly, the
 documentation submi tted by the Reporting Employee that stated, you were ordered to
 remove the door coverings and be placed in handcuffs. You refused the orders and
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  SECOND LEVEL RESPONSE
  LAC-A-10-0 1651
  Page 3


  therefore, Captain Fortson gave authorization to utilize force to extract you from the cell.
  Add itionally, th e reports (CDC -837's) submitted by Correctiona l Sergeant K. Thomas,
  Jr. a nd Officer Pollard reiterated the reporting employee's report; that you resisted a
  peace officer.          ·              ·

  T he SHO assessed O days loss of credit in accordance with CCR Section 3323(h) .

  A ll d ue process requ irements regarding th is RVR have not been met due to the time
  co nstraint violation noted at the commencement of the hearing.

  Penalties assessed are appropriate and in compliance with current department policy
  and reg ulations.

  Appellant cla ims that he was denied access to the court without due process. Appellant
  presented no evidence in the appeal to support this claim .

  Appellant claims that the RVR was written up as an attempt to ·cover the fact that LAC is
  "subjecting prisoners to cruel and unusual pu nishment and corporal pun ishment
  primarily because prisoners are alleged of refusing to accept assigned housing and or a
  cellie." Appe llant presented no evidence in the appeal to support this claim.

  Appellant claims that LAC staff is manipulating the Integrated Housing Policy (IHP) and
  th e Integrated Housin g Codes (IHC). Appe llant presented no evidence in the appeal to
  support this claim .

  Appellant claims that staff used excessive force by means of chemical and physical
  fo rce. Appellant presented no evidence in the appeal to support this claim.

  Appel lan t claims that the SHO did not allow him to call relevant witnesses. The SHO
  d enied the appellant's witnesses , in accordance with CCR Title 15 § 3315(e)(1)(B),
  afte r determining that they had no relevant or additiona l information to add to the
  p roceedings.

  APPEA L DECISIO N:
 Based on the above, this appeal is Denied at the Second Level of review, in that you
 have fa iled to provide any information that wo uld wa rrant vacating the findings of the
 SHO.

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 LO N NIE ti JACKSON': JR.                                DATE
 Chief Deputy Warden (A)
 California State Prison-Los Angeles Coun ty
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        APPEAL FORM
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        You m ay appe al any policy, action 0 1 decision w h ich has a signiiicant adverse afi ect upon you . With the except ion of Seriou s CDC 1 15s. classii 1ca11on
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   Case 2:14-cv-04758-JVS-AGR Document 165-1 Filed 09/13/18 Page 15 of 41 Page ID
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       State of California
       CDC f<'ORIVI 695
       Scree ning f<'or:
       C DC 602 Inma te/Parolee Appeal5
       CDC I 824 Reasonable Modification or Accommodation Request




       RE: Screening at the SECOND Level


       October 26, 10I 0


       T URNER. G05 794
       FAB400000000 I 48L


       Log Number: LAC-A-
       (Nore: Log numbers are nor assigned to screen out appeals, or informal level appeals)

      The enclosed documents are being returned to you for the fo llowing reasons:

       You may only submit one(]) non-emergency appeal within a seven-calendar day period.

      REFILE IN 7 DAYS.
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      J. Curiel/R. Thomas
      Appeals Coordinator/Appeals Supervisor
      Correctional Counselor II
      Ca li fornia Slate Priso n - Los A ngeles Co unty




NOTE: Pl euse make the chunges or corrections requested and resubmit the original appeal within
       fifteen working days. Once an appeal has been cancell ed that appeal may not be
       resubmitted . Ho wever a separate appeal can be fil ed on the cancellation decision. The
       ori ginal appeal may only be resubmitted if the appeal on the cancellation decision is
       granted.


                 PERMANENT APPEAL A1TACHMENT-D0 NOT REMOVE
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     On Satu rday, June 26. 2010 al approximateiy 0745 hours, I was informed by Sergeant I< . Thomas thai lnmaie T urn er (G05794 in r A64-136L
     had barricaded himself in his cell by covering the cell door and was unresponsive. At 0750 hours I made verbal coniact with Inmate Turner
     and ordered him to remove the door coverings and be placed 1n handcu fis. Inmate Turner continued to refuse orders to take down the
     barricade . I o rdered Sergeant Thomas to assemble a cell extraciion team and I noiified the Administrative Officer of the Day Captain C .
     Fortson of the incident. Captain Fonson gave authorization i o uiilize force to extract Inmate Turner ii he continued to refuse orders. Atter a
    cool down period of approximatel)' t11ree hours, at 1300 hours I read Inmate Turner his cell extraction admonishment and ordered Sergeant
    Thomas to con duct tne celi ex1raci 1on. Sergea nt Thomas gave continuous orders ior lnmale Turner to remove the barricade . Inma te Turner
    refused. Sergeani Thomas uiilized OC pepper spray ce ll buster, Z505, and T16 grenades and lhe X-10 barricade rem oval device over the
    nexl 45 minute period . At approxim ately 1345 hours, the cell exlraciion learn made entry into the cell. The Team utilized Physical Force out
    of my line of sight to gain compliance of Inmat e Turner. lnm aie Turner was escoried to the AD -Seg yard for decontamination and medical
    evaluation. Due the injuries to inm ate Turner's facial area I conducted an inmate report of finding inierview at this time. Inma te Turner staied
    Iha! he was su icidal and was escorted to th e Correctional Treatment Center for Meni al Health evalualion without further incident.

    Inmate Turner is 2 pa rticipant in the lv\ental 1-h,a lth Services Delivery System (MHSDS) ai the Correctional Clinical Case Management System
    (CCCMS) leve l of care.
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               The fo ll owing issues a r e p resent w h ich may require the u se of eq u ally effective com m unication m ethods:
0        Hearing impairmeni                                     0   Vision imoairmenl                                          0    Speech impairmenl

0         EOP                                                   0   Developmental Disability (00'//002/003)                    0    TABE 4.0 o, lower

0        MHCB                                                   0   Learning Disabilily                                        0    Foreign Language Speaking


Primary method of communication {Refer lo DcCS Repor1 or Central File and query inmate) - - - -- - - - - -- - - - - -- - - - --
Alternate m ethod of communicatio n (Refer to DECS Repor1 or Ceniral File and query inmate) - - - - - - - - - - - - -- - -- - - - -

                                             or
NOTE.: The primary method communication shall normally be used to ensure effective communication in due process proceedings. If unable to use primary
means of communicaiion. s1afi shall explain /he circumsrances necessilatino /Iris.
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Assistance P rovided To E nsu r e ~ffectiv e Com m uf)ication:
D Use of Text Magnifier             O Read Documents to "S'                                                                     0   Li p Reading
D Foreign Language lnierpreter      0 Sign Language Interpreter                                                                 0   Written Noles (see attached noted)
                                    0 s· was wearing his hearing aid(s)                                                         0   01her _ ____ _ ~ - -- - -- -
B
!cl
   Simple English
          "S " st ated he d id not need any assistance for effective communication

Method Used To Determi ne Communication Was Effective:
0        ·s· reiiera1ed in his own words whal was explained                                           D       "S" asked appropriate questions regard,ng !he in iormalion provided
E)       ·s· provided appropna1e subs laniive respo nses lo quesiions asked                           D       "S" did noi aopear lo unders;and lhe commun1catior, , even though the
                                                                                                              primary method oi communication was used .
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                                THE INVESTIGATIVE EMPLOYEE (if assig n ed) SHALL COMPLETE THIS SECTION

         Assistance Provided To En sure effective Communication:
         0   Use oi Text Magn ifier                D      Read Documents lo "S'                              U   Lip Reading
         0   Foreign Language Interpreter          D      Sign Language Interpreter                          0 \f\lritten Notes (see attached noted)
         0   Sim ple English                       D      S' was wearing his hearing a1d(s)                  D Olher _ _ __ __ __ _ _ _ __
         D   "S" stated he did not need any assistance              for effective communicatio n

         Meth o d U sed To Determi n e Communication Was Effective:
         0 'S' reiterated 1n his own words whal was explained                          D ·s· askeci appropriate queslions regarding lhe 1niorma11on provided
         0 'S' provided appropriate substantive responses to question$ asked           0 ·s· did not appear to understand the communication. even though the
         0 Olher _ _ __ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __                                      primar1• method oi commurncaiion was used.

         SIGNATURE OF EMPLOYEE WHO COMPLETED THIS SECTION                        PRINTED NAME OF EMPLOYEE                                                DATc SIGNED
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          (j ,'                                                              <.)             /'                                                     0

                                       THE HEARING OFFIC IAL (HO/S HO) SHA!-~ COMPLETE THIS SECTION
     NOTE: The HO/SHO shall query the inmate regarding the need for the use of effective communication methods at the commencement o f the
     hearing. The HO/SHO shall review any effective communicaiion iactors noted herein and address them in the hearing portion of the RVR.

     Assistance Prov i ded To Ens u r e Effective Communication:
     0       Use of Texl Magnifier                 D      Read Documents to "S'                              D Lip Reading
     D       Foreign Language Interpreter          D      Sign Language Interpreter                          D Written Noteft'e attached note.c:JJ
     ~ Simple English                              D      S" was wearing his hea,in;; aid(s)                 f8 Other 51::tr   z1:£~;7(//4
     D       "S"   stated he did not need any assistance for effective communication
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                       THE OFFICER ISSU I NG THE FINA L COPY T O THE I NMATE SHALL COMPLETE THIS SECTION

     Assistance Provided To Ensure Effective Communication:
    D        Use of Text Magnifier                D    Read Documents to "S'                                 D Lip Reading
    D        Foreign Lan guag e Interpreter       0    Sign Language Interpreter                             D Written Notes (see         a ttached noted)
    D        Simple English                       D    S" was wearing his hearing aid(s)                     OOther

    D        "S" stated   he did no t need any assistance for effective communication

    Method Used To Determine Communication Was Effective:
    D  ·s· reiterated in his own words v,hat was explained                            D ·s· asked appropriale oueshons regarci1ng the mlorma!ion orovided
    D  "S" provided appropnale substantive responses lo queslions asked               0 "S" did nol appear to understand the commun1calion. even though lhe
    D  Olher                                                                               primary method oi commurn::ation was used

    SIG NATURE OF EMPLOYEE WHO COMPLETcD THIS SECTION                        I   PRINTED NAME OF EMPLOYEE                                               DATc SIGNcD

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WL::S VIO LATION REPORT - PART C                                                                                                                       P AG::      1    OF      1


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                                                      INVEST I GAT I V E EMP LOYE E 'S REPORT
On 07/3 0/ 10, I, Correciional Officer J. Ve negas was assigned as the Investigative Employee for RVR Log Number S10-06-
0067 . A, Cain , Correctio nal L ieuienant submitted the RVR on Turn er, G05794 chargi ng him w ith a violation of the Californ ia
Code of Regul a tion s, Title 15, section 3005(c). I informed Turn er oi my assignment and advised him that my role as the IE is as
a fact finder for th e Senior Hearing Officer (SHO). Turner had no objection to my serving in this capacity. N. Bell, Corre cti o n al
Offi cer, was assigned as the SA and was presen t to assist Turner during l11e interview to en sure effective commun ication was
achieved.

DEFENDANT'S STATEMENT: Inmate Turner made th e following statement "I don't wa nt no I. E. it lost I don't ca re."

R!::PORTING EMPLOYEE' S STATEMENT: A. Cain, Correctional Lieutenant provided the following testimony: Refer to RVR.

STAFF WITNE SS: NO STAFF WITNESSES WERE INTE RVIEWED.

INMATE WITNE SS: I\JO INMATE WITNESSES WERE INTERVIEWED

INVESTIGATIVE EMPLOYEE'S COMMENTS: This concludes my r-eport as the Investigative Employee .

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:··_,'.; '.::T8 IS S.UPER.C:ED.E:S.-A·NY :P,RJ,:OR·,W,ITN ESf REQUES:J:Sj lNC:LU DJN,G.;] HO?:E:.tJS:f,EP :ON_J;f-JE'._
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  Turner d i d not request that the Reporting Employee (R/E) be available as a w itness at his disciplinary hearing.
  Tu rner did not request that the Investigative Employee (1 /E) be available as a witness at his disciplinary hearing.
  Tu rner did not request that any other staff be available as a witness at his disciplinary hearing.
  Turner did not request any Inmates as witnesses at his disciplinary hearing.




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 STATE OF CALIFORNIA                                                                DEPARTMENT OF CORRECTIONS AND R::HABILITATION

 RULES VI Q!_ATIUN Re. PORT - PART C                                                                                 PAGE          OF     4

 CDC NUMBEk          I'   INMATE'S NAME                          LOG NUMBE"               'I   INSTITUTION                  . TODAY'S DA TE:
 G05794                   Turn er    ·                           S10-06-0067                   CSP-LAC                      I 08-26-1 0
 D SUPPLEMEN TAL     I~     CONTINUATION OF: Ococ 11 sc1Rcu1v1STANCES
      - - - - ----'- - -- - - -- -
                                                                          ~   HEARING          D   I.E. REPORT   D   OTHER: - --          --

                     PLE A: Noi Guilty                                                         FIND ING: Guilty
HEARING CO NVENED: On 08-26-10 at approximately 1330 hours, Inmate Turn er made 2 personal appearance before
Correcti o n al Lieutenant R. Harris, Sen ior Hearing Officer (SHO). for the purpose of adjudicating this Ru les Violation Report
Turner stated he was in good health and ready to proceed with this hearing.

DOCUMENT ISSUANC E: Turner did noi receive a 24 -hour preparation period following the issuance of the Officer Puckett's
report. As evidenced by his signature on the CDC-1 ·1sA, Turner waived the 24 hour preparation period and requested that the
hearing co ntinue. Turner acknowledged that he had received copies of the following documents on the dates indicated:

FO RM NO .      DESC RIPTION                                                                               DATE ISSUED
CDC-115         Rules Violation Report                                                                     07-30-10
CDC-115A        Serious Rules Violation Report                                                             07- 30- 10
CDC-115         Summary of Disciplinary Procedures (Back Page)                                             07-30-10
CDC-115A        Summary of Disciplinary Procedures and Inmate Rights (Back Page)                           07-30-10
CDC-837         Crime/Incident Report W/Supps & 7219's (Log #Lac-A04-1 0-06-034 9)                         08-16- 10
CDC-115C        Investigative Employee Report                                                              08-03- 10
NIA             Notice of Ou tcome of Referral for Prosecution                                             08-05-10

These re ports were reviewed with Turner in the hearing. Tu rn er is charged with Willfully Resisting any Peace Officer i n the
Performance of Duty, a Division 'D' Offense. T urner was advised that the charged offense is a violation of CCR §3005
Conduct, subparagraph (b) Obeying Orders. CCR §3005(b) states, "Inmates and parolees must promptly and courteously
obey writte n and verbal orders and instructions from department staff, and from employees of other agencies with authorized
responsibility fo r the custody a nd supervision of inmates and parolees." Turner acknowledged understanding the charge and
the evidence being presented.

DiSTRI CT A TTORNEY: On 08--04-10 , the Los Angeles County District Attorn ey's Office declined prosecution of this case
based upon the following: Does Not meet the requirements of the DA Referral Agreement. Inmate Turner has been notified of
this decision.

TI ME CONSTRAINTS: Time constraints have not been met w hich shal l preclude denial or forfeitu re of credits in the event of a
guilty fi ndin g . Specifically, Turner did not receive a copy of the coc-·1 1s within 15 days of discovery of the charged offense,
per CCR 3320(a).

CONFIDENT IA L INFORMATION : There was no confidential in formation to be considered.

PHOTOGRAPH/VIDEOTA PE EVIDEN CE: There· were no photog raphs or videotapes presented as evidence at this hearing.

MENTAL HEALTH INFORMATION: On 08-17-10, a Mental Health Assessment Request (CDC-11 SMH) was submitted to
Mental Health Services because Turner is a participant in the Mental Health Services Delivery System (MHSOS) at the
Correctional Clinical Case Management System (CCCMS) level of care and his behavior at the time of the rule violation was
deemed to h ave been bizarre, ~nusual, or uncharacterisiic. On 08-23-'IO, Clinician P .A.scosta, Ph.D conducted a non-
confidential interview with Tu rn er and formed the opinion th at Turn er's mental disorder did not appear to be a contributing
factor in the actions that led to the RVR. The following comments were noted on CDC-115MH: Inmate Turner understands
rules concerning noi covering cell door. Clinician P. Ascosta, Ph.D noted that if the inmate is fou nd guilty of the charge, the
SHO should consider the following mental health factors in assessing a penalty: "Denial of yard might cause deterioration of
inmate's m en tal health."

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  STATE OF CALIFORNIA                                                                       DEPARTM::NT OF CORR::CTIONS AND R::HABILITATION

  RU' .:::S V IOLATION REPORT - PART C                                                                                       PAGE       2        OF   4

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                             INMATE'S NAME                             I   LO..; NUMBER             I   INSTITUTION                I   TODAY'S DATE
  G05794                     Turner                                        S10-06-0067                  CSP-LAC                        08-25-1 0

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     SUPPLc:MENTAL   ...:......_    CONTINUATION OF:      Ococ 11s CIRCUMSTANCES ~        HEARING   D     1.E. REPORT   ID   OTHER: _ _ __ __

EFFECTIVE COMMU NICATION: Effeciive communication means providing the inmate, to t11e extent possible, the means to
understand and participate in the disciplinary process to the best of thei r ability (CC:R 3000). When Turner was served a copy
of this RVR, it was determined that additional assistance would be required in order to achieve efiective communication with
Turner throughout the disciplinary process. Efiective Communication with Turn er was achieved through the assignment of a
Staff /1.ssistant w ho used simple English spoken slowly and clearly as indicated in the Staff Assisiant Portion of this documeni.
The SHO queried Turner to determine whether or not effective communication had been achieved with him throughout the
disciplinary process. Turner reiterated in his own words wha t had been explained to him and provided appropriate, substantive
responses to questions asked during the hearing The SHO is satisfied that effective communication was achieved w ith T urner
throughout the disciplinary process.

STAFF ASSISTAN T: On 07-30-10, Officer M. Bell was assigned as a Staff Assistant (SA) for Turner. Officer M. Bell was
present at the hearing and confirmed that the hearing procedures, disciplinary charges, the evidence supporiing these charges,
and the right to request confidentiality had been explained to Turner at least 24 hours prior to the hearing. Officer M. Bell
remained at the hearing to assist Turner. Speaking slowly and using simple English, Office r M. Bell reviewed the disciplinary
process with T u rner in the presence of the SHO . The SHO the n read each report to Turner and explained his appeal rights .
T urner acknowledged to the SHO that he understood all evidence to be used and understood these proceedings. Aft.er the
hearing concluded. Officer M. Bell reviewed the disciplinary process and the action taken with Turner to ensure he understood
th ese proceedings and the outcome.

INVESTIG ATIVE EMPLOYEE: On 07-30-10, Offi ce r J. Venegas was assigned as an Investigative Employee (IE). Officer J.
Venegas in terviewed Turner, completed the investigation pursuant to CCR 33 1S(a) and submitted an IE report. The assigned
SA was present to ensure effeciive commu nication was achieved during interview as previously stated. The SHO reviewed the
IE report at the hearing and found it to be adequate.

PL EA AN D STATEMENT : Turner entered a p lea of Not Guilty and stated, "I 'm not guilty."

WITNE SSES : Turner requested that the following people be· called as witnesses Sergeant R. Franklin, Officer G. Diaz, Officer
F. Spry, 1/M Logan (A4-237) unidentified inmate in cell A4-230 ..
The SHO denied Turner's request to ca ll Sergeant R. Franklin as a witness. SHO asked Turner what testimony could be
expected from Sgt. Franklin if called to testify. (Question) : Did you order me on 06-25-10, to be placed on BMU status?
(Questi o n ): Did I board up after you placed me on BMU status on 06-25-10? SHO denied Turner's request to call this
witness to answer these quesiions after determining Sgt. Franklin was not present at the time of incident, and this witn ess
wou ld have no re levan t or addi tional information to add to these proceedings (CCR 3315(e)(1 )(B)).

The SHO denied Turner's request to call Officer G. Diaz as a witness. SHO asked T urner what testimony could be expected
from Officer Diaz if called to testify. (Quest ion ):: Did you tell me to pack my stuff because I was being pl aced on BfV1U status?
SHO denied T u rner's request to ca ll this witness to answer this question after determ ining th is witness wou ld have no relevant
or additional information io add to these proceedings (CCR 33 15(e)(1)(B)).

The SHO denied Turner's req uest to call Officer F. Spry as a witness. SHO asked Turner what testimony could be expected
from Officer Spry ii ca lled to testify. (Question): Did you tell me to pack my stuff because I was being pl aced on BfV1U status?
SHO den ied Turner's request to call this witness to answer this q uestion after determining th is witness would have no relevant
or add itio nal in formation to add to these proceedings (CCR 3315(e)(1)(B)).




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 STATE OF CALIFORNIA                                                                     DEPARTMENT OF CORRECTIO NS AND REHABILITATION

 RULES V IOLATI ON REPORT - PART C                                                                                   PAGc    3     OF       4


 CDC NUM BER            INMATE 'S NAME                             LOG NUMBER                    INSTITUTION                TODA\ S DATE

 GD5794            I Turner                                    I   S10-06-0067                   CSP-LAC                I   08-26-10

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                          CONTI NUATION OF:
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                                               CDC 115 CIRCUMSTANCES       [gJ   HEARING       D   I.E. REPORT   D   OTHER: - - - - --
The SHO denied Turner's request to call 1/M Logan (A4-237) as a witness . SHO asked T urner whai testimony could be
expected from Inmate Logan if called to testify. (Quest ion ): Did staff come to my cell and tell me to pack my stuft to go on
BUM statu s? SHO denied Turner's request to call this witness to answer this question after determining this witness would
have no re levant or additional iniormation to add to these proceedings (CCR 3315(e)( 1)(B)).

The SHO denied Turner's request to call a unidentified inmate in cell A4-230. as a witness SHO asked Turner what testimony
could be expected from this unidentified inmate in cell M-230 if ca lled to testify. (Question ): Did staff come to my cell and tell
me to pack my stuff io go on BUM status? SHO denied T urn er's request to call this witness to answer this question after
determining this witness wou ld have no relevant or additiona l information to add to these proceedings (CCR 3315(e)(1 )(8)).

FIND ING : G uilty of the Div ision 'D' Offense WILLFULL Y RESISTING A NY PE AC E OFFIC ER IN T HE PERFORMA NC E OF
DUTY (CC R §3323(f)(7)) . Th is offense requ ires evidence that the defendant look a deliberate action that qualifies as resisting
a staff member, this action affected the ability of the stafi member to perform his or her assigned duties, and this staff member
was a peace ofiicer. This finding is based upon a preponderance of the following evidence:

1) The Reportin g Employee's Report (CDC-115) authored by Lieu tenant A. Cain, wherin , On Saturday, June 26, 2010 at
    approximately 0745 hours, I was informed by Sergeant K. Thomas that Inmate Turner (G05794 in FAB4- 136L had
    barricaded himself in his cell by covering the cell door and was unresponsive. At 0750 hours I made verbal contact with
    Inmate Turner and ordered him to remove the door coverings and be placed in handcufis . Inmate Turner continued to
    refuse orders to take down the barricade. I ordered Sergeant Thomas to assemble a cell extraction team and I notified tht:;
    Adm inistrative Officer of the Day Captain C. Fortson of the incident. Captain Fortson gave authorization to utilize force to
    extract Inmate Turner if he conti nued to refuse orders. After a cool down period of approximately three hours, at 1300
    hours I read Inmate Turner his cell extraction admonishment and ordered Sergeant Thomas to cond uct the cell extraction.
    Sergeant Thomas gave continuous orders for Inmate Turner to remove the barricade. Inmate Turner refused. Sergeant
    Thomas utilized OC pepper spray cell buster, Z505, and T16 grenades and the X-10 barricade removal device over the
    next 45 minute period. A t approximately 1345 hours , the ce ll extraction team made entry into the cell. The Team utilized
    Physica l Force oui of my line of sight to gain complia nce of Inmate Turner Inmate Turner was escorted to the AD-Seg
    yard for decontamination and medical evaluation .


2) The S u pplem ental Rep o rt (CDC 837-C) auth ored by Serg eant K. Tho mas J r., wherein, On Saturday, June 26, 2010 at
   approximately 0745 hours , I was conducting 'security checks within the building, and approached cell 136. As I
   approached cell 136, solely occupied by Inmate Turner (G05794 in FAB4-136L, I noticed that the cel l door was complete ly
   cove red with his blanket and mattress.        I made several attempts to make contact with Tu ner to find out why he was
   cove rin g his door. Turner did not respond. I contacted Lieutenant A. Cain and informed him of what was taken place. At
   approximately 0745 hours Cain went to cell 136 and ma-de contact with Turner, but could not con vince Turner to remove
   his door covering. Lieutenant Cain instructed me to assemble a cell extraction team for a possiblE;! extraction, to which I
   did. I observed Lieuten ant Cain I read Inmate T urner his cell extraction admonishment. Turner still refused to uncover the
   door ... At approxima tely 1305 hours, I sprayed lv1K-9 cel l busier into the cell from under the door, and gave orders to Turner
   to remove the door cover. I agai n gave orders to remove the door covering, and warned him that chemical agents wo uld
   be utilized ii he did not comply. Turner refused. At approximately 1306, 1308 and 1309, I administered a burst of the Mf<-9
   cell busier into ihe cell. T urner continued to ignore my orders ....
3) Th e S upple m ental Report (C D C 837 -C) aut hored by Offi ce r B. Po ll ard, wherein, On Saiurda y, June 26, 2010 at
   approximately 1300 hours , I was assigned by Sergeant K. Thomas Jr, io be the baton Officer for the calculated cell
   extraction of Inmate Turner (G05794 in FAB4- 136L. I along with the rest of the exiradition team assembled in fron t OF
   CELL 136. I observed Sergeant Thomas give Turner verbal orders to submit to handcuffs. Turner did not respond .
   Sergeant Thomas instructed the Control Booth Officer to open cell 136, w;{J_ ~~gaiive results due to a barricade preventing __

                                                     SIGNATURE OF WRITER             V    I      V                     I DATE SIGN        D

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    STATE OF CALIFORN IA                                                            DEPARTM :::N T OF CORRECTI ONS AND REHABILITATION
    RULES VIOLATION REPORT - PART C                                                                                 PAGE     4       Or   4


    CDC NUMBER              INMATE'S NAME                             LOG NUMBER               INSTITUTION                 I TO DAY'S DATE
    G05794
                        I   Turner                                I, S 10-06-0067          I   CSP -LAC                     08-26-10
    0   'SUPPLEMENTAL     ~ CONT INUATION OF:   0   CDC 115 CIRCUMSTANCES     ~ HcAR ING    D    I. E. REPORT   D   OTHER: -     -    - - --

        the ce_JI from fu lly opening. I observed Officer A fears remove a siate issue mattress that was preveniing the door from
        opening. Once the mattress was removed and th e cell door fully opened, I sung my baton to remove a state issued
        blanket that was hanging from the light fixture, and obstructing the view inside the cell. I followed Office C. Spencer into
        the cell and saw Turner on the bottom bunk. Turner began to violently kick his legs , stri ki ng th e shield and me in the
        stomach. I assisted Offi cer Spencer by using all my body weight to pin Turner to the bunk. T urner continued to kick his
        legs, until Officer N. Romero applied handcuffs to him. Officer W. Puckett Jr. applied leg restraints onto Turner's legs ...
        Once turner was placed in restrai ni s, Officer fears and Officer E. Stewart escorted for decontaminaiion ...
4)      Turner entered a plea of not guilty but presented no evidence to refute the written repo rts submitted al the hearing.
5)      The Men t al Health Assessment (CDC-1 '15MH) Clinician P. Ascosta, Ph.D made no indication that Tu rner was not
        respons ible for his actions at the time of the offense or that he was incapable of understanding right from wrong Turn er
        appeared at the hearing with 2 coherent demeanor and appeared to understand all relevant information .
 SHO COMMENTS : Based on the informaiion presented at the hearing, SHO finds it reasonable to conclud e that Turner did in
iact commit the act of Resisting a Peace Officer. Accordingly, the charge is appropriate and supported by the evidence
presented at this hearing.

DISPOSITION: The SHO has reviewed the Mental Health Assessment and considered the recommendations of the clinician as
they pertain to the assessment of penalties. In accordance with CCR 33 15(f), the fo llowing penalties h ave been assessed :

*       No Forfeiture of Credit was assessed due to the time constraint violation noted at the commencement of this heari ng .
•       Counseled regarding future behavioral expectations and repri manded.
        Referred to th e l nstitu~ional Classification Committee for program/housing review.

El\JEMY CONCERN : No enemy concern has resulted from this inciden t.

APPEAL RIGHTS: Turner was advis ed of the fi nding in this matter. Turner was also advised th at he may appeal any portion of
the hearin g, find ing , or disposition and that io do so, he must attach the final copy of the CDC-115 to his inmate appeal form .
Turner was advised that the results of this hearing would not become final until they are reviewed and approved by the chief
disciplinary officer (CDO) and that afte r review and approval, he would receive the a copy of the completed C DC-115 . Turner
is refe rred to CCR 3084.1 for further information.




                                                                                                                                          ~   .-
CDC 115-C (4/09)                                                                                                            TWO OSP 99 E~soe2
          Case 2:14-cv-04758-JVS-AGR Document 165-1 Filed 09/13/18 Page 25 of 41 Page ID
                                            #:1461

  Siate of C aliiornic                                                          Departmeni of C orrec tio ns and Rehabilita11on    __')
                                                                                                                             ._____,

  Mernorandu:·:l
  Date:          July 28 , 2010


  To.            M. Buechter
                 Facility 'A' Captain




  Subject:      DISCIPLINARY HEARING WHERE TIME CONSTRAINTS WERE NOT MET
                FOR RVR LOG #S10-06-0067 INMATE TURNE R CDC#G05794




               T his is to advise you that time constraints were not met during the disciplinary process
               for the above referenced Ru les Violati on Report. Specifically, a disciplinary hearing
                                                                  51
               was not held within 30 days from the date of the 1 copy of the CDC-115 was issued to
               the charged inmate Turner of (Willfu lly Obstructing any Peace Officer in the
               Performance of Duty), pe r CCR 3320(a) due to inmate transferring to Mu le Creek State
               Prison on July 02, 2010. On July 08, 2010, Inmate Turner tra nsferred back to CSP-
               LAC. On July 12, 20 10, the MCSP Records Office received RVR Log#S10-06-0067
               from LAC. MCSP sent back RVR Log# S 10-06-0067 on July 20, 2010 via Golde n State
               over-night mail for processing. On July 26, 2010, I Disciplinary Officer N . Rome ro
               received a call from C&PR Sectary Pam that RVR Log# S 10-06-0067 to pick and hear.
               Due to inmate Turner transfer status time constraints were lost.




              N.Romero
              Disciplin~
              Admi ni strative Se~ regatio n Unit 1
              California State Prison - Los Ange les County




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       Case 2:14-cv-04758-JVS-AGR Document 165-1 Filed 09/13/18 Page 26 of 41 Page ID
                                         #:1462

  Staie o f C' 2/iforn,a                                                    Depariment of Corrections and Rehabili1a1ion


  Memor,..1ndum
 Date:        July 7, 20'10

 To:          Classification and Representative Desk
              California State Prison - Los Angeles County




 Suoject:     COMPLETION OF DISCIPLINARY PRO CESS
              RVR LOG NUMBER S10-06-0067 ISSUED TO INMATE TURNER G05794


              On 07/02/1 0, Inmate Turne r tra nsferred to Mu le Creek State Prison. It was
              s ubsequently discovered that the disciplinary process for Rules Violation Report Log
              Number S10-06-0067 was not completed.

             Please forvvard the enclosed Rules Violation Report to the Records Office whe re
             Inmate Turne r Centra l Fi le has been forvva rded to, so disciplinary process can be
             completed.




             N. Rom
                           \   o1\v'\\ w
             Discip l·        cer
             Adm inistrative Segregation Unit
             California State Prison-Los Ange les County


             cc: Facility ASU Disciplinary Reg ister
                 Institutional Register




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Transfer N',erno
CDC ; &i. (0 7105)
       Case 2:14-cv-04758-JVS-AGR Document 165-1 Filed 09/13/18 Page 27 of 41 Page ID
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Oat::-                July 20, 2010


To                    La ncaste r State Prison - C&PR
                                1
                     44750 60 h Street W est
                     Lancaster, CA. 93536
Subjec i             NON -ADJUDICATED 11S' S FOR INMATE TU RN ER G05794


                     Inmate T urner was received at MCSP on Ju ly 2, 2010. He transferred back to LAC on
                     July 8, 20 10. On Ju ly ·12 , 2010 , the MCSP Record s Office received three, non-adjudica ted
                     RVR 's from LAC , Log #S1006 0067 dated 6-26- 10, Log # S1 0060047 , dated 6-22- 10 , and
                     Log #S 10060043, dated 6-18--10.

                    They are being returned to Lancaster via Golden State over-nigh1 ma il for processin g.



                                                                   I   0 1 .,.
                   ~~A_,,L,
                    J. l'vlOLINELLI
                    Classificatio n and Parole Representative
                    Mule Creek State Prison

                    Enclosure




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  !J'ii-i•i ~PC. -_                 MOVSMENT hIS~OF~ o f                  ;0~ 1 9~ - ~~PN EP~L~~JN : : , P~ ~-


                                                       TO LAC:

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                                                       SirnOUT E TO              -_,AC
                                                       f / PSYC H C,        R.ET ~N

 01:,/=,.: ~c~o                                        T O MED          FROM LAC                 CUSTO Di : CDC / LANC~                          r . ..,.
                                                                                                                                                 i. ·.·· .
                                                       LANCASTER COMMUNI TY HOS?ITALl~ANCAST~F

 i 0': 8 /2 00 9                CH ANGED UNIT          IE\•i   UNI T:       A DS SG            OLC· Ul\i IT      :    .c. .,



                                TC!vJ P RELEASE        T O MED          F RO!"\ LAC              CL; :~:T OCi":( :    ;=: c, : :. ,' L AH C.~.
                                                       LANCASTER COMMUNITi HOSPITA~ / LANC~STSP
 o~ : 09/2 0 09                 CHANGED UN I T        l\]EW UNIT :          IV                 CiL [1 Ul-H T : .L. [ J'3 E~

                                                      NE\'I! UNIT : Au.SEG                    OL D UIHT:              :::v

KMHQl PO l : The mo s t                recent movement               is     listed f ir st .




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                                  #:1465




                    EXHIBITB
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                                                       #:1466
Institution:   LAC                               California Department of Corrections and Rehabilitations                  9/5/2018

                                                 Inmate I Parolee Appeals Tracking System - I & II

                                                               Appeals Listing Report

CDC Number             Last Name                   Area of Orig in                  Issue                        Log Number
G05794                 TURNER                      FACILITY D                       FUNDS                        LAC-D-
G05794                 TURNER                      FACILITY D                       LI VIN G CONDITIONS          LAC-0-
G05794                 TURNER                      FACILITY D                       PROPERTY                     LAC-D-08-01915
Level I Review:        Received Date: 12/23/2008 Due Date: 2/6/2009                 Completed Date: 2/5/2009     GRANTED IN PART
Level II Review:       Received Date: 3/9/2009     Due Date: 4/7/2009               Completed Date: 4/9/2009     DENIED
G05794                 TURNER                      FACILITY D                       PROPERTY                     LAC-D-
G05794                 TURNER                      FACILITY D                       PROPERTY                     LAC-D-
G05794                 TURNER                      FACILITY D                        PROPERTY                    LAC-D-
G05794                 TURNER                      FACILITY D                        MAIL                        LAC-0-
G05794                 TURNER                      FACILITY D                        MAIL                        LAC-D-
G05794                 TURNER                      FACILITY D                        PROPERTY                    LAC-D-

G05794                 TURNER                      FACILITY D                        MAIL                        LAC-0-
G05794                 TURNER                      FACILITY D                        STAFF COMPLAINTS            LAC-D-
G05794                 TURNER                      FACILITY D                        PROPERTY                     LAC-D-09-0064 7
Level I Review:        Received Date: 6/25/2009    Due Date: 8/7/2009                Completed Date: 8/13/2009   CANCELLED

G05794                 TURNER                      FACILITY D                        PROGRAM                      LAC-D-
G05794                 TURNER                      FACILITY D                        PROPERTY                     LAC-D-
G05794                 TURNER                      FACILITY D                        STAFF COMPLAINTS             LAC-D-
G05794                 TURNER                      FACILITY D                        PROPERTY                     LAC-D-
G05794                 TURNER                      FACILITY D                        STAFF COMPLAINTS             LAC-D-09-00664
Level II Review:       Received Date: 6/25/2009    Due Date: 8/7/2009                Completed Date: 8/7/2009    WITHDRAWN

G05794                 TURNER                      FACILITY D                        LEGAL                        LAC-0-

G05794                 TURNER                      FACILITY D                        ADA                          LAC-D-09-00961

Level I Review:        Received Date: 9/14/2009    Due Date: 10/12/2009              Completed Date: 10/6/2009    GRANTED IN PART



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                                                        #:1467
 Institution:   LAC                               California Department of Corrections and Rehabilitations                  9/5/20 18

                                                  Inmate I Parolee Appeals Tracking System - I & II

                                                                 Appeals Listing Report
 CDC Number             Last Name                   Area of Origin                   Issue                        Log Number
G05794                  TURNER                      FACILITY D                       MEDI CAL                     LAC-D-
G05794                  TURNER                      FACILITY D                       DISCIPLINARY                 LAC-D-
G05794                  TU RNER                     FACILITY A                       LIVIN G CONDITIONS           LAC-A-
G05794                  TURN ER                     FACILITY A                       FUNDS                        LAC-A-
 G05794                 TURNER                      FACILITY A                       PROPERTY                     LAC-A-
 G05794                 TURNER                      FACILITY A                       LI VING CONDITI ONS          LAC-A-
 G05794                 TURNER                      FACILITY A                       LIVING CONDITI ONS           LAC-A-
 G05794                 TURNER                      FAC ILITY A                      PROPERTY                     LAC-A-

 G05794                 TURNER                      FAC ILITY A                      MAI L                        LAC-A-
 G05794                 TURNER                      FACILITY A                       CUSTODY/CLASS.               LAC-A-
. G05794                TURNER                      FACILITY A                       LIVING CONDITI ONS           LAC-A-
 G05794                 TURNER                      FACILITY A                        DISCIPLINARY                 LAC-A-

 G05794                 TURNER                      FACILITY A                        LEGAL                        LAC-A-

 G05794                 TURN ER                     FACILITY A                        LEGAL                        LAC-A-
 G05794                 TURN ER                     FACILITY A                        LIV ING CONDITIONS           LAC-A-

 G05794                 TURNER                      FACILITY A                        PROGRA M                     LAC-A-

 G05794                 TURNER                      FACILITY A                       A DA                          LAC-A-10-00248
 Level I Review:        Received Date: 2/10/2010    Due Date: 3/4/2010                Completed Date: 3/4/2010     CANCELLED

 G05794                 TURNER                      FACILITY A                        PROGRAM                      LAC-A-1 0-00290
 Level I Review:        Received Date: 2/10/2010    Due Date: 3/25/2010               Completed Date: 3/26/2010    GRANTED IN PART

 Level II Review:       Received Date: 4/1/2010     Due Date: 4/29/2010               Completed Date: 5/3/2010     GRANTED IN PART

 G05794                 TURNER                      FACILITY A                        PROGRAM                      LAC-A-

 G05794                 TURNER                      FACILITY A                        STAFF COMPLA INTS            LAC-A-1 0-00324

 Level II Review:       Received Date: 2/10/2010    Due Date: 3/25/2010               Completed Date: 3/17/2010   WITHDRAWN



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                                                                  #:1468
                                          California Department of Corrections and Rehabilitations 9/5/2018

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                                                               Appeals Listing Report
CDC Number             Last Name                    Area of Origin               Issue                        Log Number

G05794                 TURNER                       FACILITY A                   LEGAL                        LAC-A-10-0036 1
Level II Review:       Received Date: 2/22/2010     Due Date: 4/29/2010          Completed Date : 4/28/2010   GRANTED IN PART

G05794                 TURNER                       FACILITY A                   LEGAL                        LAC-A-
G05794                 TURNER                       FACILITY A                   LEGAL                        LAC-A-
G05794                 TURNER                       FACILITY A                   PROPERTY                     LAC-A-10-00397
Level I Review:        Received Date : 3/1/2010     Due Date : 4/13/2010         Completed Date: 3/29/2010    WITHDRAWN

G05794                 TURNER                       FACILITY A                   TRANSFER                     LAC-A-
G05794                 TU RNER                      FACILITY A                   LEGAL                        LAC-A-
G05794                 TURNER                       FACILITY A                   LIVING CONDITIONS            LAC-A-

G05794                 TURNER                       FACILITY A                   LIVING COND ITIONS           LAC-A-
G05794                 TURNER                       FACILITY A                   LIVIN G CONDITIONS           LAC-A-
G05794                 TURN ER                      FACILITY A                   LEGAL                        LAC-A-

G05794                 TURNER                       FAC ILITY A                  TRANS FER                    LAC-A-
G05794                 TURNER                       FAC ILITY A                  FUNDS                        LAC-A-

G05794                 TURNER                       FACILITY A                   MAIL                         LAC-A-

G05794                 TURNER                       FACILITY A                   CUSTODY/CLASS.               LAC-A-
G05794                 TURNER                       FACILITY A                   STAFF COMPLAINTS             LAC-A- 10-00854

Level II Review:       Received Date: 5/21/2010     Due Date: 7/6/2010           Completed Date : 6/23/2010   GRANTED IN PART

G05794                 TURNER                       FACILITY A                   ADA                          LAC-A-

G05794                 TURNER                       FACILITY A                   LEGAL                        LAC-A-

G05794                 TU RNER                      FACILITY A                   PROPERTY                     LAC-A-

G05794                 TURNER                       FACILITY A                   ADA                          LAC-A-10-00934

Level I Review:        Received Date: 6/18/2010     Due Date: 7/12/2010          Completed Date: 7/12/2010    DENIED

G05794                 TURNER                       FACILITY A                   STAFF COMPLAINTS             LAC-A-



                                                                                                       9/5/20 18 2:05:43 PM     3
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Institution:   LAC                            California Department of Corrections and Rehabilitations

                                              Inmate I Parolee Appeals Tracking System - I & II

                                                               Appeals Listing Report
CDC Number             Last Name                  Area of Origin                 Issue                        Log Number

G05794                 TURNER                     FACILITY A                     LEGA L                       LAC-A-10-01002

Level I Review:        Received Date: 6/30/2010   Due Date: 8/12/2010            Completed Date: 8/18/2010    GRANTED IN PART

Level II Review:       Received Date: 8/25/2010   Due Date: 9/23/2010            Completed Date: 9/20/2010    GRANTED IN PART

G05794                 TURNER                     FACILITY A                     TRANSFER                     LAC-A-

G05794                 TU RN ER                   FACILITY A                     LI VING CON DITI ONS         LAC-A-10-01057

Level I Review:        Received Date: 7/14/2010   Due Date: 8/25/2010            Completed Date: 8/2/2010     GRANTED

G05794                 TURNER                     FACILITY A                     LEGAL                        LAC-A-

G05794                 TURN ER                    FACILITY A                      PROPERTY                    LAC-A-

G05794                 TURNER                     FACILITY A                      LIVING CONDITIONS           LAC-A-

G05794                 TURNER                     FACILITY A                      PROGRAM                     LAC-A-

G05794                 TURNER                     FACILITY A                      LIV ING CONDITIONS          LAC-A-

G05794                 TURN ER                    FACILITY A                      LIV ING CONDITIONS          LAC-A-

G05794                 TURNER                     FACILITY A                      LEGAL                       LAC-A-

G05794                 TURNER                     FACILITY A                      LI VING CON DITIONS         LAC-A-

G05794                 TU RNER                    FAC ILITY A                     PROPERTY                    LAC-A-

G05794                 TURNER                     FAC ILITY A                     STAFF COMPLAINTS            LAC-A-

G05794                 TURNER                     FACILITY A                      LIVING CONDITIONS           LAC-A-

G05794                 TURNER                     FACILITY A                      LIVING CONDITION S          LAC-A-

G05794                 TURNER                     FACILITY A                      TRANSFER                    LAC-A-

G05794                 TURNER                     FACILITY A                      PROPERTY                     LAC-A-

G05794                 TURNER                     FACILITY A                      PROPERTY                     LAC-A-

G05794                 TURNER                     FACILITY A                      PROGRAM                      LAC-A-

G05794                 TURNER                     FAC ILITY A                     DISCIPLINARY                 LAC-A-10-01114

Level II Review:       Received Date: 7/27/2010   Due Date: 9/8/2010              Completed Date: 9/8/2010     DENIED

G05794                 TURNER                     FACILITY A                      LIVING CONDITIONS            LAC-A-

                                                                                                         9/5/2018 2:05:43 PM    4
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                                             Inmate I Parolee Appeals Tracking System - I & II

                                                               Appeals Listing Report
CDC Number             Last Name                  Area of Origin                  Issue                         Log Number
G05794                 TURNER                     FACILITY A                      PROPERTY                      LAC-A-
G05794                 TURNER                     FACILITY A                      LIVING CONDITIONS             LAC-A-
G05794                 TURNER                     FACILITY A                      PROPERTY                      LAC-A-
G05794                 TURNER                     FAC ILITY A                     LIVING CONDITIONS             LAC-A-
G05794                 TURNER                     FACILITY A                      LIVING CONDITIONS             LAC-A-
G05794                 TURNER                     FACILITY A                      STAFF COMPLAINTS              LAC-A-
G05794                 TURNER                     FACILITY A                      PROGRAM                       LAC-A-
G05794                 TURNER                     FACILITY A                      PROPERTY                      LAC-A-
G05794                 TURNER                     FACILITY A                      PROPERTY                      LAC-A-

G05794                 TURNER                     FACILITY A                      DISC IPLINARY                 LAC-A-
G05794                 TURNER                     FACILITY A                      CUSTODY/CLASS.                LAC-A-
G05794                 TURNER                     FACILITY A                      LI VING CONDITIONS            LAC-A-

G05794                 TURNER                     FACILITY A                      MAIL                          LAC-A-
G05794                 TURNER                     FACI LITY A                     MED ICAL                      LAC-A-

G05794                 TURNER                     FACI LITY A                     DISCIPLINARY                  LAC-A-

G05794                 TURN ER                    FAC ILITY A                     LEGAL                         LAC-A-
G05794,                TURNER                     FACILITY A                      PROPERTY                      LAC-A-

G05794                 TURNER                     FACILITY A                      PROPERTY                      LAC-A-
G05794                 TURNER                     FACILITY A                      PROGRAM                       LAC-A-

G05794                 TURNER                     FACILITY A                      PROPERTY                      LAC-A-

G05794                 TURNER                     FACILITY A                      DISCIPLINARY                  LAC-A-10-01201

Level II Review:       Received Date: 8/11/2010   Due Date : 9/23/2010            Completed Date: 9/15/2010     DENIED

G05794                 TURNER                     FACILITY A                      PROPERTY                      LAC-A-

G05794                 TURNER                     FACILITY A                      PROPERTY                      LAC-A-

G05794                 TURNER                     FACILITY A                      CUSTODY/CLASS.                LAC-A-

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                                                       #:1471
Institution:   LAC                      California Department of Corrections and Rehabilitations                  9/5/2018

                                        Inmate / Parolee Appeals Tracking System - I & II

                                                      Appeals Listing Report
CDC Number             Last Name          Area of Origin                   Issue                        Log Number

G05794                 TURNER             FACILITY A                       LIVING CONDITIONS            LAC-A-
G05794                 TURNER             FACILITY A                       LEGAL                        LAC-A-
G05794                 TURNER             FACILITY A                       CUSTODY/CLASS .              LAC-A-

G05794                 TURNER             FACILITY A                       LIVING CONDITIONS            LAC-A-
G05794                 TURNER             FACILITY A                        LIVING CONDITIONS           LAC-A-
G05794                 TURNER             FACILITY A                       STAFF COMPLAINTS             LAC-A-
G05794                 TURNER             FACILITY A                        PROGRAM                     LAC-A-

G05794                 TURNER             FACILITY A                        PROGRAM                     LAC-A-

G05794                 TURNER             FACILITY A                        STAFF COMPLAINTS            LAC-A-
G05794                 TURNER             FACILITY A                        PROPERTY                    LAC-A-

G05794                 TURNER             FACILITY A                        PROPERTY                    LAC-A-
G05794                 TURNER             FACILITY A                        STAFF COMPLAINTS            LAC-A-

G05794                 TURNER             FACILITY A                        LIVING CONDITIONS           LAC-A-

G05794                 TURNER             FACILITY A                        PROGRAM                     LAC-A-

G05794                 TURNER             FACILITY A                        PROGRAM                     LAC-A-

G05794                 TURNER             FACILITY A                        LIVING CONDITIONS           LAC-A-

G05794                 TURNER             FACILITY A                        PROPERTY                    LAC-A-

G05794                 TURNER             FACILITY A                        LEGAL                       LAC-A-

G05794                 TURNER              FACILITY A                       CASE INFO./RECORDS          LAC-A-

G05794                 TURNER              FACILITY A                       LIVING CONDITIONS            LAC-A-

G05794                 TURNER              FACILITY A                       PROPERTY                     LAC-A-

G05794                 TURNER              FACILITY A                       LEGAL                        LAC-A-

G05794                 TURNER              FACILITY A                       LIVING CONDITIONS            LAC-A-

G05794                 TURNER              FACILITY A                       PROPERTY                     LAC-A-

G05794                 TURNER              FACILITY A                       ADA                          LAC-A-

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                     Case 2:14-cv-04758-JVS-AGR Document 165-1 Filed 09/13/18 Page 36 of 41 Page ID
                                                       #:1472
Institution:   LAC                               Californi a Department of Correctio ns an d Rehabilitations                  9/5/20 18

                                                 Inmate / Parolee Appeals Tracking System - I & II

                                                                Appeals Listing Report
CDC Number             Last Name                   Area of Origin                     Issue                          Log Number
G05794                 TU RNER                     FACILITY A                         LEGAL                          LAC-A-
G05794                 TU RNER                     FACILITY A                         PROPERTY                       LAC-A-

G05794                 TURNER                      FACILITY A                         LIVING CONDITIONS              LAC-A-
G05794                 TURNER                      FACILITY A                         DI SCIPLI NARY                 LAC-A-10-01509
Level II Review:       Received Date: 10/21/2010 Due Date: 12/14/2010                 Completed Date: 12/14/2010 DENIED
G05794                 TURNER                      FACILITY A                         DISC IPLI NARY                 LAC-A-
G05794                 TURNER                      FACILITY A                         DISC IPLI NARY                 LAC-A-1 0-01524
Level II Review:       Received Date: 10/21/2010 Due Date: 12/24/2010                 Completed Date: 12/24/2010 GRANTED IN PART
G05794                 TURN ER                     FACILITY A                         LEGAL                          LAC-A- 10-01683
Level I Review:        Received Date: 12/7/2010    Due Date: 1/19/2011                Completed Date: 1/18/2011      GRANTED IN PART
Level II Review:       Received Date: 2/1/2011     Due Date: 3/16/2011                Completed Date: 3/18/2011     WITHDRAWN
G05794                 TU RNER                     FACILITY A                         LI VING CONDITIONS             LAC-A-
G05794                 TU RNER                     FACILITY A                         CUSTODY/CLASS.                 LAC-A-
G05794                 TU RNER                     FAC ILITY A                        LEGAL                          LAC-A-
G05794                 TURNER                      FACILITY A                         FUNDS                          LAC-A-

G05794                 TURNER                      FAC ILITY A                        PROGRAM                        LAC-A- 10-01613
Level I Review:        Received Date: 11/15/2010 Due Date: 12/29/2010                 Completed Date: 12/24/2010 DENIED

Level II Review:       Received Date: 1/18/2011     Due Date: 2/18/2011                Completed Date: 2/18/2011     DENIED
G05794                 TURNER                       FACILITY A                         DI SCIPLINARY                 LAC-A- 10-01651
Level II Review:       Received Date: 11/24/2010 Due Date: 1/18/2011                   Completed Date : 1/18/2011    CANCELLED

G05794                 TURN ER                      FACILITY A                         PROPERTY                      LAC-A-
G05794                 TURNER                       FACILITY A                         PROPERTY                      LAC-A-

G05794                 TU RNER                     AD SEG                              LEGAL                         LAC-A-
G05794                 TURNER                      A D SEG                             PROPERTY                      LAC-A-
G05794 .               TURNER                      AD SEG                              PROG RAM                      LAC-A-

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CDC Number             Last Name            Area of Origin                Issue                    Log Number

G05794                 TURNER               FACILITY A                    PROPERTY                 LAC-A-
G05794                 TURNER               FACILITY A                    LEGAL                    LAC-A-

G05794                 TURNER               FACILITY A                    MAIL                     LAC-A-
G05794                 TURNER               FACILITY A                    LIVING CONDITIONS        LAC-A-
G05794                 TURN ER              FACILITY A                    PROGRAM                  LAC-A-
G05794                 TURNER               FACILITY A                    PROPERTY                 LAC-A-

G05794                 TURNER               FACILITY A                    LEGAL                    LAC-A-
G05794                 TURNER               FACILITY A                    PROGRAM                  LAC-A-

G05794                 TURNER               FACILITY A                    DISCIPLINARY             LAC-A-

G05794                 TURNER                FACILITY A                   MAIL                      LAC-A-

G05794                 TURNER                FACILITY A                   MAIL                      LAC-A-

G05794                 TURNER                FACILITY A                   MEDICAL                   LAC-A-

G05794                 TURNER                FACILITY A                   LEGAL                     LAC-A-

G05794                 TURNER                FACILITY A                   TRANSFER                  LAC-A-

G05794                 TURNER                FACILITY A                   LEGAL                     LAC-A-

G05794                 TURNER                FACILITY A                   PROPERTY                  LAC-A-

G05794                 TURNER                FACILITY A'                  LEGAL                     LAC-A-

G05794                 TURNER                FACILITY A                   PROPERTY                  LAC-A-

G05794                 TURNER                FACILITY A                   PROPERTY                  LAC-A-

G05794                 TURNER                FACILITY A                   PROPERTY                  LAC-A-

G05794                 TURNER                FACILITY A                   PROPERTY                  LAC-A-

G05794                 TURNER                FACILITY A                   MEDICAL                   LAC-A-

G05794                 TURNER                FACILITY A                   PROPERTY                  LAC-A-

G05794                 TURNER                FACILITY A                   STAFF COMPLAINTS          LAC-A-

G05794                 TURNER                FACILITY A                   PROPERTY                  LAC-A-

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                                                                Appeals Listing Report
CDC Number             Last Name                   Area of Origin                 Issue                         Log Number

G05794                 TURNER                      FACILITY A                     PROPERTY                      LAC-A-11-00439

Level I Review:        Received Date: 6/24/2011    Due Date: 8/16/2011            Completed Date : 8/16/2011    DENIED

G05794                 TURNER                      FACILITY A                      DISCIPLINARY                 LAC-A-

G05794                 TURNER                      FACILITY A                      DISCIPLINARY                 LAC-A-

G05794                 TURNER                      FACILITY A                      DISCIPLINARY                 LAC-A-11-00589

Level II Review:       Received Date: 8/29/2011    Due Date: 10/11/2011            Completed Date: 10/11/2011 DENIED

G05794                 TURNER                      FACILITY A                      PROGRAM                      LAC-A-

G05794                 TURNER                      FACILITY A                      PROGRAM                      LAC-A-

G05794                 TURNER                      FACILITY A                      PROGRAM                      LAC-A-

G05794                 TURNER                      FACILITY D                      PROPERTY                     LAC-D-

G05794                 TURNER                      FACILITY D                      PROPERTY                     LAC-D-12-00556

G05794                 TURNER                      FACILITY D                      PROPERTY                     LAC-D-12-00560

G05794                 TURNER                      FACILITY D                      LIVING CONDITIONS            LAC-D-12-01273

G05794                 TURNER                      FACILITY D                      DISCIPLINARY                 LAC-D-12-01 360

Level II Review:       Received Date: 4/16/2012    Due Date: 6/15/2012             Completed Date: 6/13/2012    DENIED

G05794                 TURNER                      AD SEG                          TRANSFER                     LAC-S-12-01507

G05794                 TURNER                      ADSEG                           LEGAL                        LAC-S-12-01525

G05794                 TURNER                      FACILITY D                      LIVING CONDITIONS            LAC-0-17-01194

G05794                 TURNER                      FACILITY D                      PROPERTY                     LAC-D-17-01692

G05794                 TURNER                      SVSP                            PROPERTY                     LAC-X-17-03161

Level I Review:        Received Date : 6/30/2017   Due Date: 8/14/2017             Completed Date : 7/21/2017   GRANTED

G05794                 TURNER                      SVSP                            PROPERTY                     LAC-X-17-03197

G05794                 TURNER                      FACILITY D                      PROPERTY                     LAC-D-17-05944

Level I Review:        Received Date: 11/16/2017 Due Date: 1/3/2018                Completed Date: 12/28/2017 DENIED



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CDC Number             Last Name                   Area of Origin               Issue                       Log Number

G05794                 TURNER                      FACILITY D                   ADA                         LAC-D-17-06381
Level I Review:        Received Date: 12/19/2017 Due Date: 1/19/2018            Completed Date: 1/12/2018   GRANTED IN PART

G05794                 TURNER                      FACILITY D                   DISCIPLINARY                LAC-D-18-00302
Level II Review:       Received Date: 2/9/2018     Due Date: 3/26/2018          Completed Date: 3/13/2018   DENIED

G05794                 TURNER                      FACILITY D                   DISCIPLINARY                LAC-D-18-00945
Level II Review:       Received Date:              Due Date:                    Completed Date:

G05794                 TURNER                      FACILITY D                   DISCIPLINARY                LAC-D-18-01349
G05794                 TURNER                      FACILITY D                   1824                        LAC-D-18-01499
Level I Review:        Received Date: 3/21/2018    Due Date: 4/20/2018          Completed Date: 4/18/2018   DENIED

G05794                 TURNER                      FACILITY D                   STAFF COMPLAINTS            LAC-D-18-01641
Level II Review:       Received Date: 3/20/2018    Due Date: 5/1/2018           Completed Date: 4/24/2018   WITHDRAWN

G05794                 TURNER                      FACILITY D                   1824                        LAC-0-18-01913
Level I Review:        Received Date : 4/11/2018   Due Date: 5/11/2018          Completed Date: 4/26/2018   GRANTED IN PART

G05794                 TURNER                      FACILITY A                   DISCIPLINARY                LAC-D-18-02390

Level I Review:        Received Date: 5/3/2018     Due Date : 6/15/2018         Completed Date: 5/10/2018   DENIED

Level II Review:       Received Date: 5/17/2018    Due Date : 6/29/2018         Completed Date: 6/22/2018   DENIED

G05794                 TURNER                      FACILITY D                   LIVING CONDITIONS           LAC-0-18-0253 7

G05794                 TURNER                      FACILITY C                   1824                        LAC-D-18-02744

Level I Review:        Received Date: 5/22/2018    Due Date: 6/22/2018          Completed Date: 6/1/2018    DENIED

G05794                 TURNER                      FACILITY D                   VISITING                    LAC-D-1 8-02842

Level I Review:        Received Date: 5/30/2018    Due Date: 7/12/2018          Completed Date: 6/18/2018   DENIED

G05794                 TURNER                      FACILITY D                   LI VING CONDITIONS          LAC-D-18-02899

Level I Review:        Received Date: 5/31/2018    Due Date: 7/13/2018          Completed Date: 6/13/2018   GRANTED IN PART

Level II Review:       Received Date : 6/21/2018   Due Date : 8/3/2018          Completed Date: 7/18/2018   GRANTED IN PART



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CDC Number                    Last Name                   Area of Origin               Issue                       Log Number
G05794                        TURNER                      FACILITY D                   LIVING CONDITIONS           LAC-D-18-033 77
Level I Review:               Received Date: 6/29/2018    Due Date: 8/13/2018          Completed Date: 7/24/2018   DENIED
G05794                        TURNER                      FACILITY D                   1824                        LAC-D-18-03642
Level I Review:               Received Date: 7/16/2018    Due Date: 8/16/2018          Completed Date: 7/23/2018   DENIED
G05794                        TURNER                      COR                          STAFF COMPLAINTS            LAC-X-18-04123
Level II Review:              Received Date: 8/7/2018     Due Date: 9/19/2018          Completed Date:
G05794                        TURNER                      COR                          STAFF COM PLAINTS           LAC-X-18-04382
                     Total:                         207




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                               CERTIFICATE OF SERVICE

 Case Name:      Lafonzo R. Turner v. B. M.               No.    2:14-cv-04758-JVS-AGR
                 Cash, et al.

 I hereby certify that on September 13, 2018, I electronically filed the following documents with
 the Clerk of the Court by using the CM/ECF system:
 REPLY DECLARATION OF J. CURIEL, APPEALS COORDINATOR, IN SUPPORT
 OF DEFENDANTS' MOTION FOR SUMMARY JUDGMENT FOR FAILURE TO
 EXHAUST ADMINISTRATIVE REMEDIES; EXHIBITS A-B
 Participants in the case who are registered CM/ECF users will be served by the CM/ECF system.
 I am employed in the Office of the Attorney General, which is the office of a member of the
 California State Bar at which member's direction this service is made. I am 18 years of age or
 older and not a party to this matter. I am familiar with the business practice at the Office of the
 Attorney General for collection and processing of correspondence for mailing with the United
 States Postal Service. In accordance with that practice, correspondence placed in the internal
 mail collection system at the Office of the Attorney General is deposited with the United States
 Postal Service with postage thereon fully prepaid that same day in the ordinary course of
 business.
 I further certify that some of the participants in the case are not registered CM/ECF users. On
 September 13, 2018, I have caused to be mailed in the Office of the Attorney General's internal
 mail system, the foregoing document(s) by First-Class Mail, postage prepaid, or have dispatched
 it to a third party commercial carrier for delivery within three (3) calendar days to the following
 non-CM/ECF participants:
 Lafonzo R. Turner
 CDCR# G-05794
 Corcoran State Prison
 P.O. Box 3459
 Corcoran, CA 93212

 I declare under penalty of perjury under the laws of the State of California the foregoing is true
 and correct and that this declaration was executed on September 13, 2018, at Los Angeles,
 California.


                 K. Hynds                                           /s/ K. Hynds
                 Declarant                                            Signature

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